              Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 1 of 32




1                               UNITED STATES DISTRICT COURT
2                             NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
3

4     FEDERAL TRADE COMMISSION,                                        CIVIL ACTION NO.
                                                                         3:17-CV-39-JD
5
                             Plaintiff,
6                                                           [PROPOSED] STIPULATED ORDER
                     v.                                     FOR INJUNCTION AND JUDGMENT
7
      D-LINK SYSTEMS, INC.,
8
                             Defendant.
9
10

11          Plaintiff, the Federal Trade Commission (“Commission”), filed its Complaint for

12   Permanent Injunction and Other Equitable Relief pursuant to Section 13(b) of the Federal Trade
13   Commission Act (“FTC Act”), 15 U.S.C. § 53(b). The Commission and Defendant stipulate, for
14
     the purpose of settlement, to the entry of this Stipulated Order for Injunction (“Order”) to resolve
15
     all matters in dispute in this action between them.
16
            THEREFORE, IT IS ORDERED as follows:
17

18                                               FINDINGS

19          1.      This Court has jurisdiction over this matter.

20          2.      The Complaint charges that Defendant participated in deceptive acts or practices
21
     in violation of Section 5 of the FTC Act, 15 U.S.C. § 45, related to the security of the software in
22
     its IP cameras and Routers.
23
            3.      This Order does not constitute an admission by Defendant that the law has been
24
     violated as alleged in the Complaint, or that the facts as alleged in the complaint, other than the
25

26   jurisdictional facts, are true. Defendant waives and releases any claims that it may have against

27

28
              Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 2 of 32




1    the Commission, its employees, and its agents that relate to this action. Only for purposes of this
2
     action, Defendant admits the facts necessary to establish jurisdiction.
3
            4.      Defendant waives any claim that it may have under the Equal Access to Justice
4
     Act, 28 U.S.C. § 2412, concerning the prosecution of this action through the date of this Order,
5

6    and agrees to bear its own costs and attorney fees. The Commission also agrees to bear its own

7    costs and attorney fees.

8           5.      Defendant and the Commission waive all rights to appeal or otherwise challenge
9
     or contest the validity of this Order.
10
                                               DEFINITIONS
11
            For the purpose of this Order, the following definitions apply:
12
            1.      “Approved Standard” shall mean the “Security for industrial automation and
13

14   control systems – Part 4-1: Secure product development lifecycle requirements”, attached hereto

15   as Exhibit A, or, in the event that such standard no longer exists, any successor standard
16   established or approved by the International Electrotechnical Commission, or any successor
17
     entity thereto. In the event no such successor standard or successor entity exists, or at the
18
     election of Defendant, Approved Standard shall mean a standard of comparable scope and
19
     thoroughness approved, at his or her sole discretion, by the Associate Director for Enforcement,
20

21   Bureau of Consumer Protection, Federal Trade Commission. Any decision not to approve a

22   standard must be accompanied by a writing setting forth in detail the reasons for denying such

23   approval.
24          2.       “Defendant” means D-Link Systems, Inc. and its successors and assigns.
25
            3.      “Covered Device” shall mean any IP Camera or Router that Defendant sells on or
26
     after January 5, 2017, directly or through authorized re-sellers to consumers in the United States;
27                                                    2
28
     [PROPOSED] STIPULATED ORDER FOR INJUNCTION
     CASE NO. 3:17-cv-00039-JD
              Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 3 of 32




1    provided that “Covered Device” does not include IP Cameras or Routers that Defendant can
2
     establish that Defendant offers primarily for enterprises and other commercial entities, including
3
     products identified in Exhibit B.
4
            4.         “IP Camera” shall mean any Internet Protocol (“IP”) camera, cloud camera, or
5

6    other Internet-accessible camera that transmits, or allows for the transmission of, video, audio, or

7    audiovisual data over the Internet.

8           5.         “Router” shall mean any network device that forwards IP data packets from one
9
     network to another or from a network to the Internet.
10
                                                    ORDER
11
                  I.        COMPREHENSIVE SOFTWARE SECURITY PROGRAM
12
            IT IS ORDERED that Defendant shall, for a period of twenty (20) years after entry of
13

14   this Order, continue with or establish and implement, and maintain, a comprehensive software

15   security program (“Software Security Program”) that is designed to provide protection for the

16   security of its Covered Devices, unless Defendant ceases to market, distribute, or sell any
17
     Covered Devices. Subject to Section II.I of this Order, to satisfy this requirement, Defendant
18
     must, at a minimum:
19
            A.         Document in writing the content, implementation, and maintenance of the
20

21   Software Security Program;

22          B.         Provide the written program and any evaluations thereof or updates thereto to

23   Defendant’s board of directors or governing body or, if no such board or equivalent governing
24   body exists, to a senior officer of Defendant responsible for Defendant’s Software Security
25
     Program at least once every twelve (12) months;
26

27                                                     3
28
     [PROPOSED] STIPULATED ORDER FOR INJUNCTION
     CASE NO. 3:17-cv-00039-JD
              Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 4 of 32




1           C.      Designate a qualified employee or employees to coordinate and be responsible for
2
     the Software Security Program;
3
            D.      Assess and document, at least once every twelve (12) months, internal and
4
     external risks to the security of Covered Devices that could result in the unauthorized disclosure,
5

6    misuse, loss, theft, alteration, destruction, or other compromise of such information input into,

7    stored on or captured with, accessed, or transmitted by a Covered Device;

8           E.      Design, implement, maintain, and document safeguards, as a part of a secure
9
     software development process, that control for the internal and external risks Defendant
10
     identifies to the security of Covered Devices. Such safeguards shall also include:
11
                    1.      Engaging in security planning by enumerating in writing how
12
     functionality and features will affect the security of Covered Devices;
13

14                  2.      Performing threat modeling to identify internal and external risks to the

15   security of data transmitted using Covered Devices;
16                  3.      Engaging in pre-release code review of every release of software for
17
     Covered Devices through the use of automated static analysis tools;
18
                    4.      Conducting pre-release vulnerability testing of every release of software
19
     for Covered Devices;
20

21                  5.      Performing ongoing code maintenance by maintaining a database of

22   shared code to be used to help find other instances of a vulnerability when a vulnerability is

23   reported or otherwise discovered;
24                  6.      Remediation processes designed to address security flaws, or analogous
25
     instances of security flaws, identified at any stage of software development process;
26

27                                                    4
28
     [PROPOSED] STIPULATED ORDER FOR INJUNCTION
     CASE NO. 3:17-cv-00039-JD
              Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 5 of 32




1                   7.     Ongoing monitoring of security research for potential vulnerabilities that
2
     could affect Covered Devices;
3
                    8.     A process for accepting vulnerability reports from security researchers,
4
     which shall include providing a designated point of contact for security researchers, appointing
5

6    supervisory personnel to validate concerns;

7                   9.     Automatic firmware updates directly to the Covered Devices that are

8    configured to receive automatic firmware updates;
9
                    10.    At least 60 days prior to ceasing security updates for a Covered Device, a
10
     clear and conspicuous notice to consumers who registered their Covered Device, through the
11
     communication channel(s) the consumer chose at the time of registration, and a clear and
12
     conspicuous notice on the product information page of the Covered Device on Defendant’s
13

14   website that the Covered Device will no longer receive firmware updates; and

15                  11.    Biennial security training for personnel and vendors responsible for
16   developing, implementing, or reviewing Covered Device software, including firmware updates.
17
            F.      Assess, at least once every twelve (12) months the sufficiency of any safeguards
18
     in place to address the risks to the security of Covered Devices, and modify the Software
19
     Security Program based on the results.
20

21          G.      Test and monitor the effectiveness of the safeguards at least once every twelve

22   (12) months, and modify the Software Security Program based on the results.

23          H.      Select and retain service providers capable of maintaining security practices
24   consistent with this Order, and contractually require service providers to implement and maintain
25
     safeguards consistent with this Order; and
26

27                                                   5
28
     [PROPOSED] STIPULATED ORDER FOR INJUNCTION
     CASE NO. 3:17-cv-00039-JD
                 Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 6 of 32




1           I.         Evaluate and adjust the Software Security Program in light of any changes to
2
     Defendant’s operations or business arrangements, or any other circumstances that Defendant
3
     knows or has reason to know may have an impact on the effectiveness of the Software Security
4
     Program. At a minimum, Defendant must evaluate the Software Security Program at least once
5

6    every twelve (12) months and modify the Software Security Program based on the results.

7           Except for Sections I.B and I.C, Defendant may select, appoint, and work with third
8    parties that are contractually required to comply with the requirements of this Section I, provided
9
     that Defendant discloses all material facts and does not misrepresent any material facts to said
10
     third party. Defendant shall obtain from said third party all materials and documentation
11
     necessary to evaluate the effectiveness of the compliance with any provisions that the third party
12

13   is contracted to comply with. However, Defendant shall be solely responsible for compliance

14   with this Order.

15               II.    SOFTWARE SECURITY ASSESSMENTS BY A THIRD PARTY
16          IT IS FURTHER ORDERED that, in connection with compliance with Defendant’s
17
     Software Security Program, Defendant must obtain initial and biennial assessments
18
     (“Assessments”):
19
            A.         The Assessments must be obtained from a qualified, objective, independent third-
20

21   party professional (“Assessor”), who: (1) is qualified as a Certified Secure Software Lifecycle

22   Professional (CSSLP) with professional experience with secure Internet-accessible devices;

23   (2) uses procedures and standards generally accepted in the profession; (3) conducts an
24   independent review of the Software Security Program, or, at the election of Defendant, an
25
     assessment of the Approved Standard; and (4) retains all documents considered for each
26
     Assessment for five (5) years after completion of such Assessment and will provide such
27                                                   6
28
     [PROPOSED] STIPULATED ORDER FOR INJUNCTION
     CASE NO. 3:17-cv-00039-JD
              Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 7 of 32




1    documents to the Commission within fourteen (14) days of receipt of a written request from a
2
     representative of the Commission. No documents considered for an Assessment may be
3
     withheld on the basis of a claim of confidentiality, proprietary or trade secrets, work product or
4
     attorney client privilege.
5

6           B.      For each Assessment, Respondent shall provide the Associate Director for

7    Enforcement for the Bureau of Consumer Protection at the Federal Trade Commission with the

8    name and affiliation of the person selected to conduct the Assessment, which the Associate
9
     Director shall have the authority to approve in his sole discretion. Any decision not to approve
10
     an individual selected to conduct such Assessment must be accompanied by a writing setting
11
     forth in detail the reasons for denying such approval.
12
            C.      The reporting period for the Assessments to FTC must cover: (1) from the entry
13

14   of this Order to January 31, 2020, for the initial Assessment; and (2) each 2-year period

15   thereafter for ten (10) years after entry of this Order for the biennial Assessments.
16          D.      If Defendant elects to assess Defendant’s compliance with the Software Security
17
     Program, the Assessment must: (1) determine whether Defendant has implemented and
18
     maintained the Software Security Program; (2) assess the effectiveness of Defendant’s
19
     implementation and maintenance of sub-Sections I.A-I; (3) identify any gaps or weaknesses in
20

21   the Software Security Program; (4) identify specific evidence (such as documents reviewed,

22   sampling and testing performed, and interviews conducted) examined to make such

23   determinations, assessments, and identifications, and explain why the evidence that the Assessor
24   examined is sufficient to justify the Assessor’s findings; or,
25
            E.      If Defendant elects to assess Defendant’s compliance with the Approved
26
     Standard, the Assessment must certify compliance with the Approved Standard, including, but
27                                                 7
28
     [PROPOSED] STIPULATED ORDER FOR INJUNCTION
     CASE NO. 3:17-cv-00039-JD
              Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 8 of 32




1    not limited to, the following provisions: (1) Part 6.4 (“SR-3: Product Security Requirements”);
2
     (2) Part 6.5 (“SR-4: Product security requirements content”); (3) Part 6.3 (“SR-2: Threat
3
     model”); (4) Part 8.3.1(c) (“Static Code Analysis”); (5) Part 9.4 (“SVV-3: Vulnerability
4
     Testing”); (6) Part 9.5 (“Penetration Testing”); (7) Part 10.4 (“DM-3: Assessing security-related
5

6    issues”); (8) Part 10.5 (“DM-4: Addressing security-related issues”); (9) Part 10.2 (“DM-1:

7    Receiving notifications of security-related issues”); (10) Part 11.6 (“SUM-5: Timely delivery of

8    security patches”); (11) Part 10.6 (“DM-5: Disclosing security-related issues”); (12) Part 5.6
9
     (“SM-4: Security expertise”).
10
            F.      No finding of any Assessment shall rely solely on assertions or attestations by
11
     Defendant’s management. The Assessment shall be signed by the Assessor and shall state that
12
     the Assessor conducted an independent review of the Software Security Program or the
13

14   Approved Standard, and did not rely solely on assertions or attestations by Defendant’s

15   management.
16          G.      To the extent that Defendant has selected, appointed, or worked with a third party
17
     to implement any of the criteria of the Software Security Program or any criteria of the Approved
18
     Standard, Defendant shall provide to the Assessor, or cause to be provided to the Assessor, in
19
     connection with the Assessment, all materials and documentation necessary for the Assessor to
20

21   conduct the Assessment of the effectiveness of the Comprehensive Software Security Program or

22   Approved Standard. All such materials and documentation shall be maintained and produced

23   upon request pursuant to the provisions of this Order.
24          H.      Each Assessment must be completed within sixty (60) days after the end of the
25
     reporting period to which the Assessment applies. Unless otherwise directed by a Commission
26
     representative in writing, Defendant must submit the initial Assessment to the Commission
27                                                  8
28
     [PROPOSED] STIPULATED ORDER FOR INJUNCTION
     CASE NO. 3:17-cv-00039-JD
                 Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 9 of 32




1    within twenty (20) days after the Assessment has been completed via email to DEbrief@ftc.gov
2
     or by overnight courier (not the U.S. Postal Service) to Associate Director for Enforcement,
3
     Bureau of Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW,
4
     Washington, DC 20580. The subject line must begin, “In re D-Link Systems, FTC File No.
5

6    X170030.” All subsequent biennial Assessments shall be retained by Defendant until the order

7    is terminated and provided to the Associate Director for Enforcement within twenty (20) days of

8    request.
9
            I.       If Defendant obtains an Assessment (i) certifying that the Software Security
10
     Program for the Covered Devices is in compliance with the Approved Standard and
11
     (ii) certifying that Defendant is in compliance with Section I.E.10, Defendant shall be deemed in
12
     compliance with Section I of this Order for two (2) years from the date of that Assessment or
13

14   until the next January 31 Assessment deadline, whichever is earlier. Provided, however:

15                   1.     Defendant shall not be deemed in compliance with Section I of this Order
16   based on a Section II Assessment if Defendant made a representation, express or implied, that
17
     either misrepresented or omitted a material fact and such misrepresentation or omission would
18
     likely affect a reasonable Assessor’s decision about whether Defendant complied with the
19
     Approved Standard. Further, in the event that such a misrepresentation or omission was made
20

21   for the purpose of deceiving the Assessor, Defendant shall not be deemed in compliance with

22   any portion of Section I or Section II of this Order based on that Assessment.

23                   2.     Defendant shall not be deemed in compliance with Section I of this Order
24   based upon a Section II Assessment if Defendant materially changed its practices after the
25
     Assessment in question, unless, at the time of the material change, an Assessor qualified under
26

27                                                    9
28
     [PROPOSED] STIPULATED ORDER FOR INJUNCTION
     CASE NO. 3:17-cv-00039-JD
              Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 10 of 32




1    this Section certifies that the material change does not cause Defendant to fall out of compliance
2
     with the Approved Standard on which the Assessment in question was based.
3
      III.    COOPERATION WITH THIRD-PARTY SOFTWARE SECURITY ASSESSOR
4
             IT IS FURTHER ORDERED that Defendant, whether acting directly or indirectly, in
5

6    connection with any Assessment required by Section II of this Order titled Software Security

7    Assessments by a Third Party, must:

8            A.     Disclose all material facts to the Assessor, and must not misrepresent in any
9
     manner, expressly or by implication, any fact material to the Assessor’s Assessment; and
10
             B.     Provide or otherwise make available to the Assessor all information and material
11
     in its possession, custody, or control that is necessary to the Assessment for which there is no
12
     reasonable claim of privilege.
13

14                                IV.      ANNUAL CERTIFICATION

15           IT IS FURTHER ORDERED that, in connection with compliance with Defendant’s
16   Software Security Program, Defendant shall:
17
             A.     One year after the entry of this Order, and each year thereafter, provide the
18
     Commission with a certification from a senior corporate manager, or, if no such senior corporate
19
     manager exists, a senior officer of Defendant responsible for Defendant’s Software Security
20

21   Program that: (1) the requirements of this Order have been established, implemented, and

22   maintained; and (2) Defendant is not aware of any material noncompliance that has not been (a)

23   corrected or (b) disclosed to the Commission. The certification must be based on the personal
24   knowledge of the senior corporate manager, senior officer, or subject matter experts upon whom
25
     the senior corporate manager or senior officer reasonably relies in making the certification.
26

27                                                   10
28
     [PROPOSED] STIPULATED ORDER FOR INJUNCTION
     CASE NO. 3:17-cv-00039-JD
             Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 11 of 32




1           B.      Unless otherwise directed by a Commission representative in writing, submit all
2
     annual certifications to the Commission pursuant to this Order via email to DEbrief@ftc.gov or
3
     by overnight courier (not the U.S. Postal Service) to Associate Director for Enforcement, Bureau
4
     of Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW,
5

6    Washington, DC 20580. The subject line must begin, “In re D-Link Systems, Inc., FTC File No.

7    X170030.”

8                            V.      SPECIFIC CONDUCT PROVISIONS
9           IT IS FURTHER ORDERED that
10
            A.      Defendant shall no longer sell, distribute, or host on its website the IP Camera set-
11
     up wizard software containing the representations shown in Exhibit C attached hereto for any
12
     Covered Devices.
13

14          B.      Within 60 days of the effective date of this Order, provide clear and conspicuous

15   notice to all consumers who registered their Covered Devices, through the communication
16   channel(s) the consumer chose at the time of registration, containing instructions for updating
17
     said device with the latest firmware update.
18
                               VI.     ORDER ACKNOWLEDGMENTS
19
            IT IS FURTHER ORDERED that Defendant obtains acknowledgments of receipt of
20
     this Order:
21

22          A.      Defendant, within 7 days of entry of this Order, must submit to the Commission

23   an acknowledgment of receipt of this Order sworn under penalty of perjury.

24          B.      For three years after entry of this Order, Defendant must deliver a copy of this
25
     Order to: (1) all principals, officers, directors, and LLC managers and members; (2) all
26
     employees having managerial responsibilities for the security of Covered Devices and all agents
27                                                   11
28
     [PROPOSED] STIPULATED ORDER FOR INJUNCTION
     CASE NO. 3:17-cv-00039-JD
              Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 12 of 32




1    and representatives who participate in the security of Covered Devices; and (3) any business
2
     entity resulting from any change in structure as set forth in the Section titled Compliance
3
     Reporting. Delivery must occur within 7 days of entry of this Order for current personnel. For
4
     all others, delivery must occur before they assume their responsibilities.
5

6           C.      From each individual or entity to which a Defendant delivered a copy of this

7    Order, that Defendant must obtain, within 30 days, a signed and dated acknowledgment of

8    receipt of this Order.
9
                                  VII.    COMPLIANCE REPORTING
10
            IT IS FURTHER ORDERED that Defendant makes timely submissions to the
11
     Commission:
12
            A.      On January 31, 2020, Defendant must submit a compliance report, sworn under
13

14   penalty of perjury, which must: (1) identify the primary physical, postal, and email address and

15   telephone number, as designated points of contact, which representatives of the Commission may

16   use to communicate with Defendant; (2) identifies all of that Defendant’s businesses by all of
17
     their names, telephone numbers, and physical, postal, email, and Internet addresses; (3) describes
18
     the activities of each business, including the security and marketing practices; (4) describes in
19
     detail whether and how Defendant is in compliance with each Section of this Order (either
20
     directly or, at Defendant’s election, Defendant may, for the purpose of satisfying this
21

22   requirement as to Sections I and II, incorporate a Section II initial Assessment); and (5) provides

23   a copy of each Order Acknowledgment obtained pursuant to this Order, unless previously
24   submitted to the Commission.
25
            B.      For ten (10) years after entry of this Order, Defendant must submit a compliance
26
     notice, sworn under penalty of perjury, within 14 days of any change in the following: (a) any
27                                                    12
28
     [PROPOSED] STIPULATED ORDER FOR INJUNCTION
     CASE NO. 3:17-cv-00039-JD
              Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 13 of 32




1    designated point of contact; or (b) the structure of Defendant or any entity that Defendant has
2
     any ownership interest in or controls directly or indirectly that may affect compliance obligations
3
     arising under this Order, including: creation, merger, sale, or dissolution of the Defendant or any
4
     subsidiary, parent, or affiliate that Defendant has any ownership interest in or controls directly or
5

6    indirectly that engages in any acts or practices subject to this Order.

7            C.      Defendant must submit to the Commission notice of the filing of any bankruptcy

8    petition, insolvency proceeding, or similar proceeding by or against such Defendant within 14
9
     days of its filing.
10
             D.      Any submission to the Commission required by this Order to be sworn under
11
     penalty of perjury must be true and accurate and comply with 28 U.S.C. § 1746, such as by
12
     concluding: “I declare under penalty of perjury under the laws of the United States of America
13

14   that the foregoing is true and correct. Executed on: _____” and supplying the date, signatory’s

15   full name, title (if applicable), and signature.
16           E.      Unless otherwise directed by a Commission representative in writing, all
17
     submissions to the Commission pursuant to this Order must be emailed to DEbrief@ftc.gov or
18
     sent by overnight courier (not the U.S. Postal Service) to: Associate Director for Enforcement,
19
     Bureau of Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW,
20

21   Washington, DC 20580. The subject line must begin: FTC v. D-Link Systems, Inc., X170030.

22                                       VIII. RECORDKEEPING

23           IT IS FURTHER ORDERED that Defendant must create certain records for ten (10)
24   years after entry of the Order, and retain each such record for 5 years. Specifically, Defendant
25
     must create and retain the following records:
26
             A.      accounting records showing the revenues from all goods or services sold;
27                                                      13
28
     [PROPOSED] STIPULATED ORDER FOR INJUNCTION
     CASE NO. 3:17-cv-00039-JD
              Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 14 of 32




1
            B.      Defendant’s personnel records showing, for each person providing services,
2
     whether as an employee or otherwise, that person’s: name; addresses; telephone numbers; job
3
     title or position; dates of service; and (if applicable) the reason for termination;
4
            C.      records of all consumer complaints and refund requests, whether received directly
5

6    or indirectly, such as through a third party, concerning the subject matter of the Order;

7           D.      all records necessary to demonstrate full compliance with each provision of this
8    Order, including all submissions to the Commission; and
9
            E.       a copy of each unique advertisement or other marketing material by Defendant
10
     making a representation subject to this Order.
11
                                  IX.       COMPLIANCE MONITORING
12
            IT IS FURTHER ORDERED that, for the purpose of monitoring Defendant’s
13

14   compliance with this Order:

15          A.      Within 14 days of receipt of a written request from a representative of the
16   Commission, Defendant must: submit additional compliance reports or other requested
17
     information, which must be sworn under penalty of perjury; appear for depositions; and produce
18
     documents for inspection and copying. The Commission is also authorized to obtain discovery,
19
     without further leave of court, using any of the procedures prescribed by Federal Rules of Civil
20

21   Procedure 29, 30 (including telephonic depositions), 31, 33, 34, 36, 45, and 69. Provided,

22   however, that Defendant, after attempting to resolve a dispute without court action and for good

23   cause shown, may file a motion with this Court seeking an order for one or more of the
24   protections set forth in Rule 26(c).
25
            B.      For matters concerning this Order, the Commission is authorized to communicate
26
     directly with Defendant, Defendant must permit representatives of the Commission to interview
27                                                14
28
     [PROPOSED] STIPULATED ORDER FOR INJUNCTION
     CASE NO. 3:17-cv-00039-JD
              Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 15 of 32




1    any employee or other person affiliated with Defendant who has agreed to such an interview.
2
     The person interviewed may have counsel present.
3
            C.      The Commission may use all other lawful means, including posing, through its
4
     representatives, as consumers, suppliers, or other individuals or entities, to Defendant or any
5

6    individual or entity affiliated with Defendant, without the necessity of identification or prior

7    notice. Nothing in this Order limits the Commission’s lawful use of compulsory process,

8    pursuant to Sections 9 and 20 of the FTC Act, 15 U.S.C. §§ 49, 57b-1, nor does it limit
9
     Defendant’s ability to assert any and all objections, defenses, rights, or privileges available to it,
10
     as to any such process.
11

12

13

14

15

16

17

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26

27                                                     15
28
     [PROPOSED] STIPULATED ORDER FOR INJUNCTION
     CASE NO. 3:17-cv-00039-JD
Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 16 of 32




             6th     August
Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 17 of 32




             Stipulated Order for
           Injunction and Judgment
                   Exhibit A
 (Placeholder Excerpted Public Version of
  Document Filed Under Seal at ECF 271)
          Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 18 of 32
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STANDARD


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Security for industrial automation and control systems –
Part 4-1: Secure product development lifecycle requirements




INTERNATIONAL
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          Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 19 of 32
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                                                                 –2–                      IEC 62443-4-1:2018 © IEC 2018


                                                          CONTENTS
FOREWORD ........................................................................................................................... 6
INTRODUCTION ..................................................................................................................... 8
1     Scope ............................................................................................................................ 11
2     Normative references .................................................................................................... 11
3     Terms, definitions, abbreviated terms, acronyms and conventions ................................. 11
  3.1   Terms and definitions ............................................................................................ 11
  3.2   Abbreviated terms and acronyms .......................................................................... 16
  3.3   Conventions .......................................................................................................... 17
4   General principles ......................................................................................................... 17
  4.1     Concepts .............................................................................................................. 17
  4.2     Maturity model ...................................................................................................... 19
5   Practice 1 – Security management ................................................................................ 20
    5.1     Purpose ................................................................................................................ 20
    5.2     SM-1: Development process ................................................................................. 21
      5.2.1      Requirement .................................................................................................. 21
    5.3     Rationale and supplemental guidance ................................................................... 21
    5.4     SM-2: Identification of responsibilities ................................................................... 21
      5.4.1      Requirement .................................................................................................. 21
      5.4.2      Rationale and supplemental guidance............................................................ 21
    5.5     SM-3: Identification of applicability ........................................................................ 21
      5.5.1      Requirement .................................................................................................. 21
      5.5.2      Rationale and supplemental guidance............................................................ 22
    5.6     SM-4: Security expertise ....................................................................................... 22
      5.6.1      Requirement .................................................................................................. 22
      5.6.2      Rationale and supplemental guidance............................................................ 22
    5.7     SM-5: Process scoping ......................................................................................... 22
      5.7.1      Requirement .................................................................................................. 22
      5.7.2      Rationale and supplemental guidance............................................................ 23
    5.8     SM-6: File integrity ................................................................................................ 23
      5.8.1      Requirement .................................................................................................. 23
      5.8.2      Rationale and supplemental guidance............................................................ 23
    5.9     SM-7: Development environment security ............................................................. 23
      5.9.1      Requirement .................................................................................................. 23
      5.9.2      Rationale and supplemental guidance............................................................ 23
    5.10 SM-8: Controls for private keys ............................................................................. 23
      5.10.1     Requirement .................................................................................................. 23
      5.10.2     Rationale and supplemental guidance............................................................ 24
    5.11 SM-9: Security requirements for externally provided components .......................... 24
      5.11.1     Requirement .................................................................................................. 24
      5.11.2     Rationale and supplemental guidance............................................................ 24
    5.12 SM-10: Custom developed components from third-party suppliers ........................ 24
      5.12.1     Requirement .................................................................................................. 24
      5.12.2     Rationale and supplemental guidance............................................................ 25
    5.13 SM-11: Assessing and addressing security-related issues .................................... 25
      5.13.1     Requirement .................................................................................................. 25
      5.13.2     Rationale and supplemental guidance............................................................ 25
          Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 20 of 32
                                    This is a preview - click here to buy the full publication



IEC 62443-4-1:2018 © IEC 2018                                   –3–

  5.14 SM-12: Process verification .................................................................................. 25
    5.14.1    Requirement .................................................................................................. 25
    5.14.2    Rationale and supplemental guidance............................................................ 25
  5.15 SM-13: Continuous improvement .......................................................................... 25
    5.15.1    Requirement .................................................................................................. 25
    5.15.2    Rationale and supplemental guidance............................................................ 26
6   Practice 2 – Specification of security requirements ........................................................ 26
  6.1     Purpose ................................................................................................................ 26
  6.2     SR-1: Product security context .............................................................................. 27
    6.2.1     Requirement .................................................................................................. 27
    6.2.2     Rationale and supplemental guidance............................................................ 27
  6.3     SR-2: Threat model ............................................................................................... 27
    6.3.1     Requirement .................................................................................................. 27
    6.3.2     Rationale and supplemental guidance............................................................ 28
  6.4     SR-3: Product security requirements ..................................................................... 28
    6.4.1     Requirement .................................................................................................. 28
    6.4.2     Rationale and supplemental guidance............................................................ 28
  6.5     SR-4: Product security requirements content ........................................................ 29
    6.5.1     Requirement .................................................................................................. 29
    6.5.2     Rationale and supplemental guidance............................................................ 29
  6.6     SR-5: Security requirements review ...................................................................... 29
    6.6.1     Requirement .................................................................................................. 29
    6.6.2     Rationale and supplemental guidance............................................................ 29
7   Practice 3 – Secure by design ....................................................................................... 30
  7.1     Purpose ................................................................................................................ 30
  7.2     SD-1: Secure design principles ............................................................................. 30
    7.2.1     Requirement .................................................................................................. 30
    7.2.2     Rationale and supplemental guidance............................................................ 30
  7.3     SD-2: Defense in depth design.............................................................................. 31
    7.3.1     Requirement .................................................................................................. 31
    7.3.2     Rationale and supplemental guidance............................................................ 32
  7.4     SD-3: Security design review ................................................................................ 32
    7.4.1     Requirement .................................................................................................. 32
    7.4.2     Rationale and supplemental guidance............................................................ 32
  7.5     SD-4: Secure design best practices ...................................................................... 32
    7.5.1     Requirement .................................................................................................. 32
    7.5.2     Rationale and supplemental guidance............................................................ 33
8   Practice 4 – Secure implementation ............................................................................... 33
  8.1     Purpose ................................................................................................................ 33
  8.2     Applicability .......................................................................................................... 33
  8.3     SI-1: Security implementation review .................................................................... 33
    8.3.1      Requirement .................................................................................................. 33
    8.3.2      Rationale and supplemental guidance............................................................ 34
  8.4     SI-2: Secure coding standards .............................................................................. 34
    8.4.1      Requirement .................................................................................................. 34
    8.4.2      Rationale and supplemental guidance............................................................ 34
9   Practice 5 – Security verification and validation testing .................................................. 34
    9.1       Purpose ................................................................................................................ 34
         Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 21 of 32
                                   This is a preview - click here to buy the full publication



                                                              –4–                     IEC 62443-4-1:2018 © IEC 2018

  9.2     SVV-1: Security requirements testing .................................................................... 35
    9.2.1    Requirement .................................................................................................. 35
    9.2.2    Rationale and supplemental guidance............................................................ 35
  9.3     SVV-2: Threat mitigation testing ............................................................................ 35
    9.3.1    Requirement .................................................................................................. 35
    9.3.2    Rationale and supplemental guidance............................................................ 35
  9.4     SVV-3: Vulnerability testing .................................................................................. 36
    9.4.1    Requirement .................................................................................................. 36
    9.4.2    Rationale and supplemental guidance............................................................ 36
  9.5     SVV-4: Penetration testing .................................................................................... 36
    9.5.1    Requirement .................................................................................................. 36
    9.5.2    Rationale and supplemental guidance............................................................ 36
  9.6     SVV-5: Independence of testers ............................................................................ 37
    9.6.1    Requirement .................................................................................................. 37
    9.6.2    Rationale and supplemental guidance............................................................ 37
10 Practice 6 – Management of security-related issues ...................................................... 38
  10.1 Purpose ................................................................................................................ 38
  10.2 DM-1: Receiving notifications of security-related issues ........................................ 38
   10.2.1    Requirement .................................................................................................. 38
   10.2.2    Rationale and supplemental guidance............................................................ 38
  10.3 DM-2: Reviewing security-related issues ............................................................... 38
   10.3.1    Requirement .................................................................................................. 38
   10.3.2    Rationale and supplemental guidance............................................................ 39
  10.4 DM-3: Assessing security-related issues ............................................................... 39
   10.4.1    Requirement .................................................................................................. 39
   10.4.2    Rationale and supplemental guidance............................................................ 39
  10.5 DM-4: Addressing security-related issues ............................................................. 40
   10.5.1    Requirement .................................................................................................. 40
   10.5.2    Rationale and supplemental guidance............................................................ 40
  10.6 DM-5: Disclosing security-related issues ............................................................... 41
   10.6.1    Requirement .................................................................................................. 41
   10.6.2    Rationale and supplemental guidance............................................................ 41
  10.7 DM-6: Periodic review of security defect management practice ............................. 42
   10.7.1    Requirement .................................................................................................. 42
   10.7.2    Rationale and supplemental guidance............................................................ 42
11 Practice 7 – Security update management ..................................................................... 42
    11.1 Purpose ................................................................................................................ 42
    11.2 SUM-1: Security update qualification .................................................................... 42
     11.2.1    Requirement .................................................................................................. 42
     11.2.2    Rationale and supplemental guidance............................................................ 42
    11.3 SUM-2: Security update documentation ................................................................ 42
     11.3.1    Requirement .................................................................................................. 42
     11.3.2    Rationale and supplemental guidance............................................................ 43
    11.4 SUM-3: Dependent component or operating system security update
           documentation ...................................................................................................... 43
     11.4.1    Requirement .................................................................................................. 43
     11.4.2    Rationale and supplemental guidance............................................................ 43
    11.5 SUM-4: Security update delivery ........................................................................... 43
     11.5.1    Requirement .................................................................................................. 43
          Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 22 of 32
                                     This is a preview - click here to buy the full publication



IEC 62443-4-1:2018 © IEC 2018                                    –5–

   11.5.2    Rationale and supplemental guidance............................................................ 43
  11.6 SUM-5: Timely delivery of security patches ........................................................... 44
   11.6.1    Requirement .................................................................................................. 44
   11.6.2    Rationale and supplemental guidance............................................................ 44
12 Practice 8 – Security guidelines ..................................................................................... 44
  12.1 Purpose ................................................................................................................ 44
  12.2 SG-1: Product defense in depth ............................................................................ 44
    12.2.1    Requirement .................................................................................................. 44
    12.2.2    Rationale and supplemental guidance............................................................ 45
  12.3 SG-2: Defense in depth measures expected in the environment ............................ 45
    12.3.1    Requirement .................................................................................................. 45
    12.3.2    Rationale and supplemental guidance............................................................ 45
  12.4 SG-3: Security hardening guidelines ..................................................................... 45
    12.4.1    Requirement .................................................................................................. 45
    12.4.2    Rationale and supplemental guidance............................................................ 46
  12.5 SG-4: Secure disposal guidelines ......................................................................... 46
    12.5.1    Requirement .................................................................................................. 46
    12.5.2    Rationale and supplemental guidance............................................................ 46
  12.6 SG-5: Secure operation guidelines ........................................................................ 46
    12.6.1    Requirement .................................................................................................. 46
    12.6.2    Rationale and supplemental guidance............................................................ 47
  12.7 SG-6: Account management guidelines ................................................................. 47
    12.7.1    Requirement .................................................................................................. 47
    12.7.2    Rationale and supplemental guidance............................................................ 47
  12.8 SG-7: Documentation review ................................................................................. 47
    12.8.1    Requirement .................................................................................................. 47
    12.8.2    Rationale and supplemental guidance............................................................ 47
Annex A (informative) Possible metrics ................................................................................ 48
Annex B (informative) Table of requirements ....................................................................... 50
Bibliography .......................................................................................................................... 52


Figure 1 – Parts of the IEC 62443 series................................................................................. 9
Figure 2 – Example scope of product life-cycle ..................................................................... 10
Figure 3 – Defence in depth strategy is a key philosophy of the secure product life-cycle ..... 18


Table 1 – Maturity levels ....................................................................................................... 20
Table 2 – Example SDL continuous improvement activities ................................................... 26
Table 3 – Required level of independence of testers from developers ................................... 37
Table B.1 – Summary of all requirements .............................................................................. 50
         Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 23 of 32
                                This is a preview - click here to buy the full publication



                                                         –6–                    IEC 62443-4-1:2018 © IEC 2018


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                         SECURITY FOR INDUSTRIAL AUTOMATION
                               AND CONTROL SYSTEMS –

          Part 4-1: Secure product development lifecycle requirements

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1) The International Electrotechnical Commission (IEC) is a worldwide organization for standardization comprising
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International Standard IEC 62443-4-1 has been prepared by IEC technical committee 65:
Industrial-process measurement, control and automation.

The text of this International Standard is based on the following documents:

                                          FDIS                     Report on voting
                                      65/685/FDIS                     65/688/RVD


Full information on the voting for the approval of this International Standard can be found in
the report on voting indicated in the above table.

This document has been drafted in accordance with the ISO/IEC Directives, Part 2.
       Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 24 of 32
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A list of all parts in the IEC 62443 series, published under the general title Security for
industrial automation and control systems, can be found on the IEC website.

Future standards in this series will carry the new general title as cited above. Titles of existing
standards in this series will be updated at the time of the next edition.

The committee has decided that the contents of this document will remain unchanged until the
stability date indicated on the IEC website under "http://webstore.iec.ch" in the data related to
the specific document. At this date, the document will be

•   reconfirmed,
•   withdrawn,
•   replaced by a revised edition, or
•   amended.

A bilingual version of this publication may be issued at a later date.




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         Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 25 of 32
                                This is a preview - click here to buy the full publication



                                                         –8–                    IEC 62443-4-1:2018 © IEC 2018


                                               INTRODUCTION

This document is part of a series of standards that addresses the issue of security for
industrial automation and control systems (IACS). This document describes product
development life-cycle requirements related to cyber security for products intended for use in
the industrial automation and control systems environment and provides guidance on how to
meet the requirements described for each element.

This document has been developed in large part from the Secure Development Life-cycle
Assessment (SDLA) Certification Requirements [26] 1 from the ISA Security Compliance
Institute (ISCI). Note that the SDLA procedure was based on the following sources:

–   ISO/IEC 15408-3 (Common Criteria) [18];
–   Open Web Application Security Project (OWASP) Comprehensive, Lightweight Application
    Security Process (CLASP) [36];
–   The Security Development Life-cycle by Michael Howard and Steve Lipner [43];
–   IEC 61508 Functional safety                   of    electrical/electronic/         programmable   electronic
    safety-related systems [24], and
–   RCTA DO-178B Software Considerations in Airborne Systems and Equipment Certification
    [28].

Therefore, all these sources can be considered contributing sources to this document.

This document is the part of the IEC 62443 series that contains security requirements for
developers of any automation and control products where security is a concern.

Figure 1 illustrates the relationship of the different parts of IEC 62443 that were in existence
or planned as of the date of circulation of this document. Those that are normatively
referenced are included in the list of normative references in Clause 2, and those that are
referenced for informational purposes or that are in development are listed in the Bibliography.




___________
1   Figures in square brackets refer to the bibliography.
                 Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 26 of 32
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                      IEC TS 62443-1-1                 IEC TR 62443-1-2               IEC TS 62443-1-3                     IEC TR 62443-1-4
     General


                                                          Master glossary of              System security                   IACS security life-cycle
                      Terminology, concepts
                                                       terms and abbreviations           compliance metrics                    and use-cases
                           and models
  Policies and
  procedures




                        IEC 62443-2-1                  IEC TR 62443-2-2               IEC TR 62443-2-3                       IEC 62443-2-4
                     Establishing an industrial        Implementation guidance                                                Security program
                                                                                       Patch management in
                      automation and control             for an IACS security                                               requirements for IACS
                                                                                       the IACS environment
                     system security program             management system                                                     service providers




                      IEC TR 62443-3-1                   IEC 62443-3-2                  IEC 62443-3-3
    System




                                                                                             System security
                        Security technologies          Security risk assessment             requirements and
                      for industrial automation          and system design                    security levels
                        and control systems
    Component




                        IEC 62443-4-1                    IEC 62443-4-2
                       Product development                Technical security
                          requirements                  requirements for IACS
                                                             components




                                           Published                       In development                       Development planned
                     Status
                      key




                                           Published (under review)        Out for comment/vote                 Adoption planned
                                                                                                                                                       IEC


                                             Figure 1 – Parts of the IEC 62443 series

Figure 2 illustrates how the developed product relates to maintenance and integration
capabilities defined in IEC 62443-2-4 and to its operation by the asset owner. The product
supplier develops products using a process compliant with this document. Those products
may be a single component, such as an embedded controller, or a group of components
working together as a system or subsystem. The products are then integrated together,
usually by a system integrator, into an Automation Solution using a process compliant with
IEC 62443-2-4. The Automation Solution is then installed at a particular site and becomes
part of the industrial automation and control system (IACS). Some of these capabilities
reference security measures defined in IEC 62443-3-3 [10] that the service provider ensures
are supported in the Automation Solution (either as product features or compensating
mechanisms). This document only addresses the process used for the development of the
product; it does not address design, installation or operation of the Automation Solution or
IACS.

In Figure 2, the Automation Solution is illustrated to contain one or more subsystems and
optional supporting components such as advanced control. The dashed boxes indicate that
these components are “optional”.

NOTE 1 Automation Solutions typically have a single product, but they are not restricted to do so. In some
industries, there may be a hierarchical product structure. In general, the Automation Solution is the set of hardware
and software, independent of product packaging, that is used to control a physical process (for example,
continuous or manufacturing) as defined by the asset owner.

NOTE 2 If a service provider provides products used in the Automation Solution, then the service provider is
fulfilling the role of product supplier in this diagram.

NOTE 3 If a service provider provides products used in the Automation Solution, then the service provider is
fulfilling the role of product supplier in this diagram.
    Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 27 of 32
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                                                  – 10 –                  IEC 62443-4-1:2018 © IEC 2018



                                                     Industrial automation and control system (IACS)


                                                               Operational and maintenance
    Asset       Operates (IEC 62443-2-1,                    capabilities (policies and procedures)
    Owner
                     IEC 62443-2-4)
                                                                                 +
                                                           Automation Solution (IEC 62443-3-3)
   System      Integrates (IEC 62443-2-4,
                                                                                              Complementary
  Integrator         IEC 62443-3-2)                                                            hardware and
                                                    Subsystem 1          Subsystem 2
                                                                                                  software
                                                                                                components
Configured for intended environment

                                               Includes a configured instance        of the Product


                                                                 Product (IEC 62443-4-2)
   Product                                               system, subsystem, or component such as:
   Supplier     Develops (IEC 62443-4-1)
                                                                   Embedded              Network       Host
                                                  Applications
                                                                    devices            components     devices

Independent of the intended environment
                                                                                                                IEC


                      Figure 2 – Example scope of product life-cycle
         Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 28 of 32
                              This is a preview - click here to buy the full publication



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                       SECURITY FOR INDUSTRIAL AUTOMATION
                             AND CONTROL SYSTEMS –

           Part 4-1: Secure product development lifecycle requirements




1     Scope

This part of IEC 62443 specifies process requirements for the secure development of
products used in industrial automation and control systems. It defines a secure development
life-cycle (SDL) for the purpose of developing and maintaining secure products. This life-cycle
includes security requirements definition, secure design, secure implementation (including
coding guidelines), verification and validation, defect management, patch management and
product end-of-life. These requirements can be applied to new or existing processes for
developing, maintaining and retiring hardware, software or firmware for new or existing
products. These requirements apply to the developer and maintainer of the product, but not to
the integrator or user of the product. A summary list of the requirements in this document can
be found in Annex B.


2     Normative references

The following documents are referred to in the text in such a way that some or all of their
content constitutes requirements of this document. For dated references, only the edition
cited applies. For undated references, the latest edition of the referenced document (including
any amendments) applies.

IEC 62443-2-4:2015, Security for industrial automation and control systems – Part 2-4:
Security program requirements for IACS service providers
IEC 62443-2-4:2015/AMD1:2017


3     Terms, definitions, abbreviated terms, acronyms and conventions

3.1     Terms and definitions

For the purposes of this document, the terms and definitions given in IEC TR 62443-1-2 2 and
the following apply.

ISO and IEC maintain terminological databases for use in standardization at the following
addresses:

•     IEC Electropedia: available at http://www.electropedia.org/
•     ISO Online browsing platform: available at http://www.iso.org/obp

3.1.1
abuse case
test case used to perform negative operations of a use case

Note 1 to entry: Abuse case tests are simulated attacks often based on the threat model. An abuse case is a type
of complete interaction between a system and one or more actors where the results of the interaction are
intentionally intended to be harmful to the system, one of the actors or one of the stakeholders in the system.




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2   Under consideration.
Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 29 of 32




             Stipulated Order for
           Injunction and Judgment
                   Exhibit B
      Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 30 of 32




                                    Exhibit B

DCS-1201
DCS-2230
DCS-3511
DCS-4602EV & -VB1
DCS-4603
DCS-4605EV
DCS-4622
DCS-4633EV
DCS-4701E & -VB1
DCS-4703E
DCS-4705E
DCS-4802E & -VB1
DCS-5615
DCS-6004L
DCS-6010L
DCS-6113
DCS-6210
DCS-6212L
DCS-6314
DCS-6315
DCS-6510
DCS-6511/MCD
DCS-6513
DCS-6517 & /MCD
DCS-6616
DCS-6818
DCS-6915
DCS-7010L
DCS-7110
DCS-7513
DCS-7517
DSR-1000AC
DSR-150 & 150/RE & 150N & 150N/RE
DSR-250 & 250/RE & 250N & 250N/RE
DSR-500 & 500/RE & 500N/RE
DSL-2750B-VZ
DWR-920V-UC
DWR-922-UC
DWR-961-SP & -UC & -VZ




                                                                  Page 1 of 1
Case 3:17-cv-00039-JD Document 276 Filed 08/06/19 Page 31 of 32




             Stipulated Order for
           Injunction and Judgment
                   Exhibit C
           Case 3:17-cv-00039-JSC
           Case 3:17-cv-00039-JD Document
                                  Document276
                                           1-1 Filed
                                               Filed 08/06/19
                                                     01/05/17 Page
                                                              Page 32
                                                                   31 of
                                                                      of 32
                                                                         31



    t mydlink Setup Wizard                                                                                                   l=I        1..a..r
I



       ,.,Y'
       my _ ,                                                                           OCS-2310L Setup Wizard


      Select your camera                                           ~--~




       select your camera from the list and click Next when you complete.
                                                                         Plug          •iii•                    Connect            Join




                  camera                        MAC ID I!)                IP address                            Connection
         @        DCS-2310L                F0:7D:68:09:AJ:CF            172.18195.50                            Ir   DHCP




                                                                      Not ,~:ste<t,j           Ii   Wrrr.



      Enter a password to secure your camera
                                                                   Admin account admin
      ·cannot find your camera from the 11st?
                                                                         Password      l~
                                                                                        ,,.._,..
                                                                                            ---------~
                                                               Confirm password        l__:"_*__'*-'•I'--________,
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           +-    Back                                                                   Rescan      C                       Next   ..

                         Troubleshooting        I Manuals and Downloads        I       About                I        Exit

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                                                                                                                                           PX1
